Case 2:04-cr-20386-SH|\/| Document 52 Filed 05/23/05 Page 1 of 2 Page|D 64

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IN THE UNITED sTATEs DIsTRICT CoURT '”"'§D '“‘ ‘ 49 *
FoR THE wEsTERN DIsTRICr oF TENNESSE g ,, _
WESTERN DlvisIoN 55 "*Fl`f 2d Pil l 53

 

 

UNITED STATES OF AMERICA

V.

CHRIS ANTHONY PARKS 04cr20386-D

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 05 'l 3 'OD, the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsei:

NAME W @OM Who is Retainedeppointed.

The defendant, through coun sel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

¢; _The defendant (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984) is remanded to the custody

of the U.S. Marshal. "_* d
H'\MA~' LI-&__.

UNITED STATES MAGISTRATE ]UDGE

CHARGES -18:81.F
ARSON WITHIN SPECIAL MARITIME OR TERRITORIAL ]URISDICTION

Attorney assigned to Case: T. Berry

Age: 31

This document entered on the docket sheet in comp lance
with Huze 55 and/or sam mch on § ZD>'Q§

UNITD sATEs isTRIC COURT - WEERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-203 86 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

